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                       UNITED STATES COURT OF APPEALS
                           FOR THE FOURTH CIRCUIT
                    LEWIS F. POWELL, JR. UNITED STATES COURTHOUSE ANNEX
                               1100 EAST MAIN STREET, SUITE 501
                                RICHMOND, VIRGINIA 23219-3517
                                   WWW.CA4.USCOURTS.GOV

NWAMAKA ANOWI                                                                 TELEPHONE
    CLERK                                                                   (804) 916-2700


                                  December 27, 2023

Rory L. Perry, II, Clerk
United States District Court
Southern District of West Virginia
P. O. Box 2546
Charleston, WV 25329

       Re: John Castro v. Andrew Warner et al
           2:23-cv-00598

Dear Clerk:

Review of the district court docket discloses that the district court may be
considering a post-judgment motion (docketed as “Objections”) which, under Fed.
R. App. P. 4(a)(4), has the effect of tolling the period in which to file a notice of
appeal. A notice of appeal filed after entry of judgment but before disposition of
such a motion becomes effective upon entry of an order disposing of the last such
motion.

This court will treat the notice of appeal as filed as of the date the district court
disposes of such motion and will docket the appeal following disposition of the
motion. Please notify this court upon entry of an order disposing of the motion.

If a party wishes to appeal the district court's disposition of the motion, a notice of
appeal or amended notice of appeal must be filed within the time prescribed for
appeal, measured from entry of the order disposing of the last such motion.

                                          Yours truly,

                                          /s/ A. Carlheim

cc: John Castro, plaintiff
    J. Mark Adkins, Esq.
    Richard R. Heath, Jr., Esq.
    William M. Lorensen, Esq.
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